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                                    UNITED STATES JUDICIAL PANEL
                                                 on
                                     MULTIDISTRICT LITIGATION
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 IN RE: DEPUY ORTHOPAEDICS, INC., PINNACLE
 HIP IMPLANT PRODUCTS LIABILITY LITIGATION                                  Thomas Drew    MDL No. 2244
                                                                           DEPUTY CLERK
                                                                  U.S. DISTRICT COURT, NORTHERN
                                                                         DISTRICT OF TEXAS
                                        (SEE ATTACHED SCHEDULE) December 20, 2021



                             CONDITIONAL TRANSFER ORDER (CTO −362)



 On May 23, 2011, the Panel transferred 3 civil action(s) to the United States District Court for the Northern
 District of Texas for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407. See 787
 F.Supp.2d 1358 (J.P.M.L. 2011). Since that time, 1,823 additional action(s) have been transferred to the
 Northern District of Texas. With the consent of that court, all such actions have been assigned to the
 Honorable James Edgar Kinkeade.
 It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
 actions previously transferred to the Northern District of Texas and assigned to Judge Kinkeade.

 Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
 the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Northern District of
 Texas for the reasons stated in the order of May 23, 2011, and, with the consent of that court, assigned to the
 Honorable James Edgar Kinkeade.

 This order does not become effective until it is filed in the Office of the Clerk of the United States District
 Court for the Northern District of Texas. The transmittal of this order to said Clerk shall be stayed 7 days
 from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
 period, the stay will be continued until further order of the Panel.



                                                            FOR THE PANEL:

                               Dec 17, 2021

                                                            John W. Nichols
                                                            Clerk of the Panel
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 IN RE: DEPUY ORTHOPAEDICS, INC., PINNACLE
 HIP IMPLANT PRODUCTS LIABILITY LITIGATION                                       MDL No. 2244



                     SCHEDULE CTO−362 − TAG−ALONG ACTIONS



    DIST      DIV.     C.A.NO.     CASE CAPTION


 CONNECTICUT

     CT        3      21−01593     Czarzasty v. Depuy Orthopaedics, Inc. et al

 FLORIDA SOUTHERN

    FLS        0      21−62456     Wolczanski et al v. Bayside Orthopaedics, Inc. et al

 MASSACHUSETTS

    MA         1      21−11900     Sanghvi v. Medical Device Business Services, Inc. et al
                                                                            Opposed 12/16/2021
 NEW JERSEY

     NJ        3      21−20202     MONICAL v. JOHNSON & JOHNSON et al
                                                                             Opposed 12/16/2021
 VIRGINIA EASTERN

    VAE        1      21−01336     Ickes v. DePuy Orthopaedics, Inc. et al
